Case 3:12-cv-00579-HLA-JBT Document 16 Filed 03/15/13 Page 1 of 1 PageID 137



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

ANDRE R. HARDY, SR.,

       Plaintiff,

v.                                         CASE NO.       3:12-cv-579-J-25JBT

SOUTHEAST TRANSPORTATION
SYSTEM, INC., a foreign corporation,
and IVAN J. KYLER, an individual,

       Defendants.


                                         ORDER

       Pursuant to the Mediation Disposition Report (Dkt. 15), which indicates that this case

has been completely settled, and in accordance with Rule 3.08(b) of the Local Rules of the

Middle District of Florida, it is,

       ORDERED and ADJUDGED:

       1. That this case is hereby DISMISSED subject to the right of any party to move the

Court within sixty (60) days hereof to enter a stipulated form of final order or judgment; or,

on good cause shown, to reopen this case for further proceedings.

       2. The Clerk is directed to close this case.

       DONE AND ORDERED at Jacksonville, Florida this 15th day of March, 2013.




Copies to: Counsel of Record
